     Case 3:21-cv-00108-JWD-SDJ              Document 138-1          12/19/24      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA



 BRIAN HUMPHREY, et al.,                            Civil Action No. 3:20-cv-00233

        Plaintiffs,                                 Judge John W. deGravelles

                 v.                                 Magistrate Judge Scott D. Johnson

 JAMES LEBLANC,

        Defendant.


 JOEL GIROIR, et al.,                               Civil Action No. 3:21-cv-00108

        Plaintiffs,                                 Judge John W. deGravelles

                v.                                  Magistrate Judge Scott D. Johnson

 JAMES LEBLANC, et al.,

        Defendants.



      Memorandum in Support of Motion to Substitute Pleading (In Order to Correct
                                    Deficiency)

       NOW INTO COURT, through undersigned counsel, come the Plaintiffs, who request

leave of court to substitute the attached Joint Status Report in place of the previously filed Joint

Status Report (Rec. Doc. 137) to correct the deficiency in the signature.



Dated: December 19, 2024

                                                 /s/ Samantha Bosalavage
                                                 Lydia Wright, La. Bar No. 37926
                                                 Samantha Bosalavage, La. Bar No. 39808
Case 3:21-cv-00108-JWD-SDJ   Document 138-1       12/19/24      Page 2 of 2




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